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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

Ashley Menchaca,
                                         No. 2:18-cv-10874-TGB-EAS
      Plaintiff,
                                         HON. TERRENCE G. BERG
v
                                   MAG. ELIZABETH A.
Michigan Department of Corrections STAFFORD
and State of Michigan,
                                   ORAL ARGUMENT
     Defendants.                   REQUESTED



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                                                                        /

 DEFENDANTS’ PARTIAL MOTION TO DISMISS PLAINTIFF’S
                   COMPLAINT
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      Defendants, Michigan Department of Corrections (MDOC) and the

State of Michigan, through their attorneys, move under Federal Rule of

Civil Procedure 12(b)(6) to partially dismiss Plaintiff’s Complaint and

state as follows:

      1.    Plaintiff Ashley Menchaca filed this lawsuit against MDOC

and the State of Michigan. The complaint alleges four counts under

Title VII of the Civil Rights Act: (1) race and/or gender discrimination;

(2) sexual orientation discrimination; (3) hostile work environment; and

(4) retaliation.

      2.    Defendants move to dismiss Count II of Plaintiff’s

Complaint.

      3.    Count II of Plaintiff’s Complaint, sexual orientation, and any

other count premised upon sexual orientation discrimination, fails to

state a claim upon which relief can be granted. Title VII applies only to

members of a protected class. Smith v. City of Salem, 378 F.3d 566, 570

(2004). The Sixth Circuit held that Title VII’s protections do not extend

to an individual’s sexual orientation. Consequently, for purposes of

Count II, Plaintiff is not a member of a protected class.




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      4.   On May 17, 2018, there was a conference between the

attorneys in this matter in which the movant explained the nature of

the motion and its legal basis and requested but did not obtain

concurrence in the relief sought.

      WHEREFORE, Defendants MDOC and the State of Michigan

respectfully request this Court to grant their Partial Motion to Dismiss

Plaintiffs’ Complaint, award Defendants attorneys’ fees and costs, and

grant such further relief that this Court deems just and equitable.

                                         Respectfully submitted,

                                         Bill Schuette
                                         Attorney General


                                         /s/ Kyla L. Ragatzki
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                     CERTIFICATE OF SERVICE

I hereby certify that on May 18, 2018, I electronically filed the above
document(s) with the Clerk of the Court using the ECF System, which
will provide electronic notice and copies of such filing to the parties.

A courtesy copy of the aforementioned document was placed in the mail
directed to:

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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

ASHLEY MENCHACA,
                                         No. 2:18-cv-10874-TGB-EAS
      Plaintiff,
                                         HON. TERRENCE G. BERG
v
                                         MAG. ELIZABETH A.
MICHIGAN DEPARTMENT OF                   STAFFORRD
CORRECTIONS AND STATE OF
MICHIGAN,                                ORAL ARGUMENT
                                         REQUESTED
      Defendants.

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DEFENDANTS’ BRIEF IN SUPPORT OF ITS PARTIAL MOTION
        TO DISMISS PLAINTIFF’S COMPLAINT
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           CONCISE STATEMENT OF ISSUES PRESENTED

      1.    Title VII’s protections apply only to members of a protected
            class. In Vickers v. Fairfield Med. Ctr., 453 F.3d 757 (2006),
            the Sixth Circuit held that Title VII’s protections did not
            extend to an individual’s sexual orientation. Has Plaintiff
            failed to state a claim for sexual orientation discrimination
            under Title VII?

      2.    Title VII prohibits an employer from discriminating against
            an individual on the basis of race, color, religion, sex, or
            national origin. In Plaintiff’s complaint, she pleaded that
            the Michigan Department of Corrections was her employer.
            Should the State of Michigan be dismissed from this
            lawsuit?




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    CONTROLLING OR MOST APPROPRIATE AUTHORITY

Authority:

42 U.S.C § 2000e-2

Vickers v. Fairfield Med. Ctr., 453 F.3d 757 (2006)




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                       STATEMENT OF FACTS

      Plaintiff Ashley Menchaca began her employment with Defendant

Michigan Department of Corrections (MDOC) on or around January 1,

2016. (Dkt. 1, Compl, ¶ 13.) While Plaintiff originally began as a

corrections officer at Women’s Huron Valley Correctional Facility, she

was transferred to Woodland Center Correctional Facility in December

2016. (Id., ¶¶ 13–14.) Plaintiff alleges that “[i]mmediately upon [her]

arrival to her new shift she began experiencing adverse, harassing

conduct from her individual supervisors,” including Captain Melissa

Godfrey, Sergeant Ahmet Ferizovic, Captain Paul Schrieber, and

Sergeant Long. (Id., ¶¶ 15, 17.) Plaintiff claims that this alleged

harassment took place because she is Hispanic, homosexual, and a

“nonconforming female.”1

      On April 7, 2017, Plaintiff reported the alleged “discrimination,

retaliation, and harassment” to Deputy Warden Parrish. (Id., ¶ 61.) A

month and a half later, Plaintiff resigned her employment with MDOC

due to the alleged “unbearable and hostile” working conditions. (Id., ¶




1Plaintiff’s complaint does not explain what makes her a
nonconforming female.

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71.) She subsequently filed a charge of discrimination with the Equal

Employment Opportunity Commission (EEOC), which granted her a

Right to Sue letter on December 19, 2017. (Id., ¶¶ 10–11.)

      On March 16, 2018, Plaintiff filed a complaint against MDOC and

the State of Michigan. The complaint alleges four counts under Title

VII of the Civil Right Act of 1964: (1) race and/or gender discrimination;

(2) sexual orientation discrimination; (3) hostile work environment; and

(4) retaliation. She seeks compensatory, punitive, and exemplary

damages as well as attorneys’ fees.




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                               ARGUMENT

I.    Sexual orientation is not a protected class under Title VII
      of the Civil Rights Act.

      Title VII of the Civil Rights Act of 1964 prohibits an employer

from “discriminat[ing] against any individual . . . because of such

individual’s race, color, religion, sex, or national origin.” 42 U.S.C §

2000e-2(a)(1). It also offers employees protection from a “workplace [ ]

permeated with discriminatory intimidation, ridicule, and insult that is

sufficiently severe or pervasive to alter the conditions of the victim’s

employment and create an abusive working environment.” Harris v.

Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (internal citations and

quotation marks omitted).

      To demonstrate a prima facie case under Title VII, a plaintiff

must show that he or she is a member of a protected class. Smith v.

City of Salem, 378 F.3d 566, 570 (6th Cir. 2004). Notably, the Sixth

Circuit has held in no uncertain terms that “sexual orientation is not a

prohibited basis for discriminatory acts under Title VII.” Vickers v.

Fairfield Med. Ctr., 453 F.3d 757, 762 (2006); see also EEOC v. R.G. &

G.R. Harris Funeral Homes, Inc., 884 F.3d 560, 579 (6th Cir. 2018) (“We

held in Vickers that a plaintiff cannot pursue a claim for impermissible


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sex stereotyping on the ground that his perceived sexual orientation

fails to conform to gender norms . . . .). 2 Consequently, a plaintiff must

demonstrate more than her non-heteronormative sexual orientation to

establish that she is a member of a protected class for purposes of Title

VII. Vickers, 453 F.3d at 762; Smith v. City of Salem, 378 F.3d 566, 575

(6th Cir. 2004) (holding that “[s]ex stereotyping based on a person’s

gender non-conforming behavior is impermissible discrimination”);

EEOC v. R.G. & G.R. Harris Funeral Homes, Inc., 884 F.3d 560, 572

(6th Cir. 2018) (holding that “non sex-stereotypical behavior . . . falls

squarely within the ambit of sex-based discrimination”).

      For example, in Vickers v. Fairfield Medical Center, 453 F.3d 757,

764 (6th Cir. 2006), the plaintiff argued that “the unique nature of

homosexuality entitles it to protection under Title VII sex

discrimination law.” But the Sixth Circuit disagreed and held that


2The majority of federal appeals courts—namely the 1st, 3rd, 4th, 5th,
8th, 9th, and 10th circuits—have held the same. Higgins v. New
Balance Athletic Shoe, Inc., 194 F.3d 252, 259 (1st Cir. 1999); Bibby v.
Philadelphia Coca Cola Bottling Co., 260 F.3d 257, 261 (3d Cir. 2001);
Wrightson v. Pizza Hut of America, Inc., 99 F.3d 138, 142 (4th Cir.
1996); Brandon v. Sage Corp., 808 F.3d 266, 270 n. 2 (5th Cir. 2015);
Schmedding v. Tnemec Co., Inc., 187 F.3d 862, 864–865 (1999); Rene v.
MGM Grand Hotel, Inc., 305 F.3d 1061, 1063 (2002); Etsitty v. Utah
Transit Auth., 502 F.3d 1215, 1222 (2007).

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“sexual orientation is not a prohibited basis for discriminatory acts

under Title VII.” Id. at 762.

      Like the plaintiff in Vickers, Plaintiff alleges in Count II of her

complaint that MDOC discriminated against her because of her sexual

orientation. (Dkt. 1, Compl, ¶ 98, 101–102.) Specifically, Plaintiff

claims that:

      Because of her homosexuality, Plaintiff was subjected to
      treatment from Defendant MDOC that was disparate from
      that accorded to heterosexual employees of Defendant
      MDOC . . . [and] [h]ad Plaintiff not been homosexual, she
      would not have been subjected to the above-referenced
      discriminatory treatment. [Id., ¶¶ 102, 105.]

Plaintiff also alleges that MDOC created a hostile work environment for

Plaintiff because of her sexual orientation. (Id., ¶¶ 123, 126.) However,

like the plaintiff in Vickers, Plaintiff has not plead any facts in regard to

Count II that support an “argument that h[er] appearance or

mannerisms . . . were perceived as gender non-conforming . . . and

provided the basis for the harassment [she] experienced.” Id. at 763.

Instead, she merely alleges that MDOC discriminated against her

because she is a homosexual. (Dkt. 1, Compl, ¶¶ 101, 102, 104, 105.)

Thus, Plaintiff’s “claim does not fit within the prohibitions of the law”




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and should be dismissed along with any other claims premised upon the

alleged sexual orientation discrimination. Vickers, 453 F.3d at 765.




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             CONCLUSION AND RELIEF REQUESTED

      Defendants MDOC and the State of Michigan respectfully request

that this Court grant its Motion to Dismiss Plaintiff’s Complaint, award

Defendants their attorneys’ fees and costs, and grant such further relief

that this Court deems just and equitable.

                                          Respectfully submitted,

                                          Bill Schuette
                                          Attorney General


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Case 2:18-cv-10874-TGB-EAS ECF No. 10 filed 05/18/18   PageID.86   Page 16 of 16




                     CERTIFICATE OF SERVICE

I hereby certify that on May 18, 2018, I electronically filed the above
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